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                       U IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

                                                         )
   In re:                                                )
                                                         )      Case No. 21-10355
   CCS ASSET MANAGEMENT, INC.                            )
                                                         )      Chapter 11
                                   Debtors.              )
                                                         )
   CCS ASSET MANAGEMENT, INC.,                           )
                                                         )
                                   Plaintiff,            )     Adv. Pro. No. 21-01031
                                                         )
   v.                                                    )
                                                         )
   BUTTROSS V, INC.
                                                         )
                                   Defendant.            )
                                                         )
                                                         )
                       PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT

            Plaintiff, CCS Asset Management, Inc., (the “Debtor” or “Plaintiff”), requests that the

  Clerk of the Court enter a default against Defendant Buttross V. Inc. (“Defendant” or “Buttross”)

  as authorized by Federal Rule of Civil Procedure 55, and made applicable in these proceedings

  by Federal Rule of Bankruptcy Procedure 7055. In support hereof, the Plaintiff submits the

  Declaration of R. J. Shannon in Support of Trustee’s Request for Entry of Default attached

  hereto as Exhibit A.

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   Dated: March 4, 2021                          Respectfully submitted,

                                                 PARKINS LEE & RUBIO LLP

                                                 /s/R. J. Shannon                            .
                                                 R. J. Shannon (TBA No. 24108062)
                                                 Pennzoil Place
                                                 700 Milam Street, STE 1300
                                                 Houston, TX 78702
                                                 Telephone: (713) 715-1660
                                                 Email: rshannon@parkinslee.com

                                                 Counsel to CCS Asset Management, Inc.



                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 6, 2021, a true and correct copy of the foregoing
  Plaintiff’s Request for Entry of Default was served via first class U.S.P.S. mail and, where
  indicated, email to the following persons:

  Butrross V. Inc.
  c/o InCorp Services Inc.
  815 Brazos St., Suite 500
  Austin, TX 78701 USA


                                                               /s/ R. J. Shannon                 .




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